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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


YPSILANTI TOWNSHIP CITIZENS FOR
RESPONSIBLE GOVERNMENT, ballot Case No.
question committee,
                                Hon.
            Plaintiff,
v.

JOCELYN BENSON, in her official capacity
as Secretary of State of Michigan,
LAWRENCE KESTENBAUM, in his
official capacity as Washtenaw County
Clerk, and HEATHER JARRELL ROE, in
her official capacity as Ypsilanti Township
Clerk.

              Defendants.



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    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiff, Ypsilanti Township Citizens for Responsible Government

(“Plaintiff”), in its capacity as local ballot question committee, by and through its

counsel, Hannah Stocker, files its Complaint for Declaratory and Injunctive Relief,


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against Defendants Jocelyn Benson, Secretary of State of Michigan, in her official

capacity; and Heather Jarrell Roe, in her official capacity as Ypsilanti Township

Clerk.

              INTRODUCTORY STATEMENT AND SUMMARY

         1.   Plaintiff is a duly-formed ballot question committee, formed for the

purpose of supporting a initiative petition to prohibit the establishment of marihuana

establishments in the Charter Township of Ypsilanti (the “Township”), pursuant to

Mich. Comp. Laws. § 333.27956(1).

         2.   Plaintiff is filing this action to challenge the constitutionality of Mich.

Comp. Laws § 333.27956(1), which provides no method for a petitioner to challenge

a municipal officer’s petition sufficiency determination.

         3.   To place a voter’s initiative to prohibit marihuana establishments in

Ypsilanti Township on the August 2022 ballot, Plaintiff needed to submit a petition

containing a number of signatures of qualified electors in the Township greater than

5% of the votes cast by qualified voters in the Township in the last gubernatorial

election.

         4.   In the 2018 gubernatorial election, 23,856 registered electors voted in

the Township. Therefore, Plaintiff needed to collect 1,193 valid signatures to have

its petition placed on the August 2, 2022 ballot.




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      5.     Despite Plaintiff collecting what it believed to be 2,896 total signatures

in support of its initiative, Township Clerk, Defendant, Heather Jarrell Roe

(“Defendant Roe”), has canvassed the petitions and determined that Plaintiff did not

collect enough signatures to have its initiative placed on the ballot.

      6.     Neither the Michigan Regulation and Taxation of Marihuana Act, the

Charter Township Act, nor the Michigan Election Law provide Plaintiff with an

outlet to challenge Defendant Roe’s determination.

      7.     Plaintiff seeks a declaration that Mich. Comp. Laws § 333.27956(1)

violates its First and Fourteenth Amendment right to ballot access and the right of

the voters to free association and violates Plaintiff’s right to procedural due process

under the Fourteenth Amendment of the United States Constitution.

      8.     Plaintiff also seeks an order enjoining Defendants from enforcing the

signature threshold in Mich. Comp. Laws § 333.27956(1) and requiring Defendants

to craft remedies relating to these provisions that address constitutional infirmities.

      9.     Plaintiff brings this action under 42 U.S.C. § 1983 to vindicate its rights

under the Fourteenth Amendment to the United States Constitution against

deprivation of liberty without due process of law.

                          JURISDICTION AND VENUE




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      10.    Jurisdiction is proper under 28 U.S.C. §§ 1331 and 1343 because this

is a civil action seeking relief for the deprivation of rights secured by the United

States Constitution.

      11.    Jurisdiction also arises under 42 U.S.C. § 1983 in relation to Mich.

Comp. Laws § 333.27956(1)’s violation of Plaintiff’s constitutional rights to due

process.

      12.    Venue is proper in the Eastern District of Michigan pursuant to 28

U.S.C. § 1391(b) because it is the judicial district where the Charter Township of

Ypsilanti is located and where the majority of events giving rise to this action

occurred.

                                    PARTIES

      13.    Plaintiff, Ypsilanti Township Citizens for Responsible Government, is

a duly-formed ballot question committee which seeks to place a voter’s initiative

prohibiting recreational marihuana establishments in Ypsilanti Township on the

August 2, 2022 ballot.

      14.    Defendant, Jocelyn Benson, is sued in her official capacity as the

Michigan Secretary of State. As Secretary of State, she serves as Michigan’s chief

election officer. Mich. Comp. Laws § 168.21.

      15.    Defendant, Lawrence Kestenbaum, is sued in his official capacity as

the Washtenaw County Clerk. As Washtenaw County Clerk, Defendant Kestenbaum



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is the county’s chief election official and receives certification of Plaintiff’s petition

by the Ypsilanti Townshi Clerkp.

      16.    Defendant, Heather Jarrell Roe (“Defendant Roe”), is sued in her

official capacity as Clerk of the Township of Ypsilanti, who, upon information and

belief, is responsible for determining whether the submitted petition is adequate.

                BACKGROUND FACTS AND ALLEGATIONS

  THE MICHIGAN REGULATION AND TAXATION OF MARIHUANA
                         ACT
      17.    In 2018, the electors of Michigan passed the Michigan Regulation and

Taxation of Marihuana Act (“MRTMA”), Mich. Comp. Laws § 333.27951 et seq.,

which legalized recreational marihuana and established a system to regulate, tax, and

license marihuana businesses in the State.

      18.    With the passage of MRTMA, municipalities were automatically

“opted in” to allowing recreational marihuana businesses within their boundaries.

      19.    However, Mich. Comp. Laws § 333.27956(1) provides municipalities

with a mechanism to prohibit or limit the establishment of marihuana businesses

within their boundaries.

      20.    Mich. Comp. Laws § 333.27956(1) allows municipalities or electors of

municipalities to prohibit or limit the establishment of marihuana businesses through

the passage of ordinances.

      21.    Under Mich. Comp. Laws § 333.27956(1):


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              [i]ndividuals may petition to initiate an ordinance to
              provide for the number of marihuana establishments
              allowed within a municipality or to completely prohibit
              marihuana establishments within a municipality, and such
              ordinance shall be submitted to the electors of the
              municipality at the end regular election when a petition is
              signed by qualified electors in the municipality in a
              number greater than 5% of the votes cast for governor by
              qualified electors in the municipality at the last
              gubernatorial election. A petition under this subsection is
              subject to section 488 of the Michigan election law, 1954
              PA 116, MCL 168.488.
       22.    Mich. Comp. Laws § 168.488 requires initiative petitions to comply

with § 168.482(1), (4), (5), and (6) of the Michigan Election Law.

       23.    Therefore, to have its initiative placed on the ballot, a ballot initiative

committee needs to submit a petition that is signed by a number of electors equal to

5% of the community’s electors who voted in the last gubernatorial election and

ensure its petition complies with the formatting set forth in Mich. Comp. Laws §

168.482(1), (4), (5), and (6).

                           THE INITIATIVE PETITION

       24.    In March and April 2022, Plaintiff circulated an initiative petition that,

if enacted, would prohibit marihuana establishments in the Charter Township of

Ypsilanti (the “Township”).

       25.    Through Plaintiff’s efforts, Plaintiff obtained 2,896 signatures in

support of its Initiative Petition.




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       26.   On April 26, 2022, Plaintiff submitted its Initiative Petition to

Defendant Roe for canvassing.

       27.   On April 29, 2022, Defendant Roe sent Plaintiff a letter, indicating as

follows:

             On April 26, Ypsilanti Township Citizens for Responsible
             Government submitted petitions to the Charter Township
             of Ypsilanti Clerk’s Office. The petitions were submitted
             pursuant to MCL 333.27956. Under MCL 333.27956, the
             petitions are required to contain a number greater than 5%
             of the votes cast for governor by qualified electors in the
             municipality at the last gubernatorial election. The
             petitions did not meet this threshold.
       28.   On May 2, 2022, Plaintiff’s Counsel contacted both the Township

Counsel and Litigation Counsel, requesting a copy of Defendant Roe’s signature

report to determine the number of signatures invalidated, which signatures were

invalidated, and for what reason.

       29.   Neither counsel responded to Plaintiff’s Counsel’s request and Plaintiff

has no opportunity to affirm the validity of any signatures contained in the Initiative

Petition.

       30.   Because Defendant Roe has deemed Plaintiff did not obtain 1,193 valid

signatures, Defendant Roe has refused to place the Initiative on the August ballot.


                              CAUSES OF ACTION

COUNT I – VIOLATION OF FIRST AND FOURTEENTH AMENDMENTS
            TO THE UNITED STATES CONSTITUTION


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       31.    The preceding paragraphs are hereby incorporated by reference as if

fully set forth herein.

       32.    The First Amendment of the United States Constitution prohibits the

abridgment of speech and political association.

       33.    The First Amendment applies to the states through the Fourteenth

Amendment.

       34.    All persons violating the First Amendment under color of state law are

liable in equity and at law under 42 U.S.C. § 1983.

       35.    The right to initiative is protected by the Federal Constitution through

the Due Process clause. See Taxpayers United for Assessment Cuts v. Austin, 994

F.2d 291, 294 (6th Cir. 1993) (“[O]nce a state creates an initiative, the initiative

becomes a means by which voters can communicate with other voters; therefore, the

state must ensure that the process does not violate federal constitutional rights.”)

       36.    Plaintiff is a ballot question committee that has actively and diligently

attempted to obtain sufficient signatures to place an initiative petition on the ballot

pursuant to Mich. Comp. Laws § 333.27956(1).

       37.    Although Plaintiff believed it obtained 2,896 signatures (12% of the

number of electors who voted for governor in Ypsilanti Township in the 2018

gubernatorial election) in support of the Initiative Petition, Defendant Roe has, upon




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information and belief, invalidated over 1,700 signatures and refused to certify the

ballot question language for the August 2, 2022 election.

       38.   The Michigan Regulation and Taxation of Marihuana Act fails to

provide any mechanism to challenge Defendant Roe’s sufficiency determination.

       39.   Neither the Michigan Election Law, Mich. Comp. Laws § 168.1 et seq.,

nor the Charter Township Act provide any mechanism to challenge Defendant Roe’s

sufficiency determination.

       40.   Mich. Comp. Laws § 333.27956(1) is a ballot access law.

       41.   When assessing the validity of ballot access laws, a court must analyze

the “character and magnitude of the asserted injury” to the plaintiff’s constitutional

rights in relation to the government’s interest in enforcing the regulation. Anderson

v. Celebrezze, 460 U.S. 780, 789 (1983).

       42.   If an undue burden is placed on the plaintiff’s constitutional rights,

strict scrutiny applies and a regulation is deemed invalid, unless it is narrowly

tailored to advance a compelling state interest. See Graveline v. Benson, 992 F.3d

524, 534 (6th Cir. 2021).

       43.   The right to cast an effective vote “is one of the most fundamental

significance under [America’s] constitutional structure.” Libertarian Pty of Ohio v.

Blackwell, 462 F.3d 579, 585 (6th Cir. 2006).




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       44.    The First Amendment right to free speech is violated if state laws

effectively prevent an individual or group from gaining ballot access. Libertarian

Pty of Ohio v. Blackwell, 462 F.3d 579, 582 (6th Cir. 2006)

       45.    Mich. Comp. Laws § 333.27956(1) violates Plaintiff’s First and

Fourteenth Amendment right to free political speech and free political association

by robbing Plaintiff of any way to validate signatures that have been deemed invalid

by the Township Clerk.

       46.    Mich. Comp. Laws § 333.27956(1) effectively denies Plaintiff access

to the ballot by failing to provide petitioners like Plaintiff the ability to challenge the

municipal official’s determination.

       47.    As a result of this, Township residents have been denied the right to

vote and advocate for their cause.

       48.    As such, Mich. Comp. Laws § 333.27956(1) places a severe burden on

Plaintiff’s First and Fourteenth Amendment rights.

       49.    If a state regulation imposes a severe burden on a plaintiff’s

constitutional rights, strict scrutiny applies and the regulation will only be upheld if

it is narrowly drawn to advance a state interest of compelling importance. See

Graveline v. Benson, 992 F.3d 524, 534 (6th Cir. 2021).

       50.    Mich. Comp. Laws § 333.27956(1) is not narrowly tailored to advance

the government’s interest in regulating elections, as less restrictive means exist.



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        51.   The lack of procedural safeguards for unlawful denial of ballot access

under Mich. Comp. Laws § 333.27956(1) is burdensome, unreasonable, and not

narrowly tailored to meet any compelling or legitimate state interest.

        52.   Mich. Comp. Laws § 333.27956(1) violates Plaintiff’s First and

Fourteenth Amendment rights to free political speech.

   COUNT II – VIOLATION OF THE DUE PROCESS CLAUSE OF THE
                  FOURTEENTH AMENDMENT

        53.   The preceding paragraphs are hereby incorporated by reference as if

fully set forth herein.

       54.    The Fourteenth Amendment of the United States Constitution and art I,

§ 17 of the Michigan Constitution prevent the deprivation of life, liberty or property

without due process of law. Included within this protection are the rights to notice

and a hearing when the state deprives an individual or an entity a fundamental liberty

interest.

       55.    Plaintiff has a fundamental liberty interest in obtaining access to the

ballot via initiative petition. See U.S. CONST. amend I.

       56.    Plaintiff has a fundamental liberty interest in gaining access to the ballot

if its initiative format complies with Mich. Comp. Laws § 168.488 and has obtained

signatures in excess of the 5% threshold set forth in Mich. Comp. Laws §

333.27956(1).




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       57.      Mich. Comp. Laws § 333.27956(1) cannot deprive Plaintiff of this right

without providing notice and an opportunity to be heard.

       58.      Because Mich. Comp. Laws § 333.27956(1) affords no opportunity for

Plaintiff to challenge the clerk’s sufficiency determination, there is a high risk of

erroneous deprivation of Plaintiff’s right to ballot access.

       59.      The State has no legitimate interest in providing no procedural

safeguards to allow Plaintiff to challenge the Clerk’s sufficiency determination.

       60.      The State will suffer little to no harm if required to establish a

procedural safeguard.

       61.      Mich. Comp. Laws § 333.27956(1) violates Plaintiff’s federal and state

due process rights by providing Plaintiff with no opportunity to be heard to challenge

Defendant Roe’s petition sufficiency determination.

       62.      Mich. Comp. Laws § 333.27956(1) deprives Plaintiff of due process.

                      COUNT III – DECLARATORY RELIEF

       63.      The preceding paragraphs are hereby incorporated by reference as if

fully set forth herein.

       64.      An actual controversy exists between Plaintiff and Defendants

       65.      As such, the Court must determine the following:

             a. Whether Mich. Comp. Laws § 333.27956(1) violates Plaintiff’s First
                and Fourteenth Amendment Constitutional rights;




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              b. Whether Mich. Comp. Laws § 333.27956(1) violates Plaintiff’s right to
                 procedural due process;
              c. Whether, given the statutory framework of the Michigan Election Law,
                 MRTMA, and Charter Act, Plaintiff has any available remedy to
                 challenge the Clerk’s determination;
              d. Other determinations, orders, and judgments necessary to fully
                 adjudicate the rights of the parties.
        66.      Therefore, Plaintiff requests a declaration that Mich. Comp. Laws §

333.27956(1) violates Federal and State Law.

                                  RELIEF REQUESTED

        WHEREFORE, Plaintiffs respectfully request that this Court:

   A.         Enter judgment in favor of Plaintiff and against Defendants;

   B.         Declare that Mich. Comp. Laws § 333.27956(1) deprives Plaintiff of its

              First and Fourteenth Amendment Rights;

   C.         Declare the Mich. Comp. Laws § 333.27956(1) deprives Plaintiff of a

              liberty interest without due process;

   D.         Compel Defendant Roe to certify Plaintiff’s petition to the Washtenaw

              County Clerk for the August 2, 2022 election;

   E.         Enjoin enforcement of Mich. Comp. Laws § 333.27956(1) until the

              Secretary of State has created a procedural safeguard to prevent petitions

              from being subject to erroneous deprivation of their rights under that

              Section;




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   F.    Issue a preliminary injunction prohibiting Defendants from enforcing the

         signature requirements contained in Mich. Comp. Laws § 333.27956(1) as

         it applies to Plaintiff and similarly situated local ballot question

         committees;

   G.    Order that Defendants craft appropriate remedies with regard to petition

         signature requirements as found in Mich. Comp. Laws § 333.27956(1), so

         as to rectify constitutional infirmities; and

   H.    Grant or award such other relief as the Court may deem just, equitable or

         appropriate under the circumstances.



                                       Respectfully Submitted,

Dated: May 6, 2022

                                            /s/ Hannah Stocker
                                       By: ______________________________
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